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                      UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF COLUMBIA


ALAN BURKS, et al.,                             )
                                                )
                                                )
                        Plaintiffs,             ) No. 16-cv-1102 (CRC)
                                                )
                  vs.                           )
                                                )
ISLAMIC REPUBLIC OF IRAN, et al.                )
                                                )
                                                )
                        Defendants.             )
________________________________________________)


   PLAINTIFFS’ MEMORANDUM IN RESPONSE TO COURT’S AUGUST 9, 2022
     ORDER REQUIRING SUPLEMENTAL BRIEFING RE: 18 U.S.C. § 1605A
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       Plaintiffs respectfully submit this memorandum of law in response to the Court’s August

9, 2022 Order (the “August 9 Order”) requiring supplemental briefing concerning whether

explosively formed penetrator (“EFP”) attacks not involving a fatality can form the basis for

claims under the Foreign Sovereign Immunities Act’s terrorism exception (18 U.S.C. § 1605A).

Plaintiff Randolph Nantz, among other members of the proposed Class in this action, suffered

personal injuries caused by EFP attacks that did not produce any fatalities. See August 24

Declaration of Josh Perles (“Perles Decl.”) at ¶ 2.

                                            ARGUMENT

                                                  I.

                      NON-FATAL EFP ATTACKS THAT CAUSE PERSONAL
                       INJURIES CAN SUPPORT CLAIMS UNDER § 1605A

   A. The Controlling Statutory Interpretation Rules

       To interpret statutes, “court[s] begin[] ‘with the language of the statute itself’ and, if

necessary, ‘may turn to other customary statutory interpretation tools, including structure,

purpose, and legislative history.’” Donnelly Commodities Inc. v. BNSF Ry. Co. (In re Rail

Freight Fuel Surcharge Antitrust Litig.), 34 F.4th 1, 9 (D.C. Cir. 2022) (quoting Genus Med.

Techs. LLC v. FDA, 994 F.3d 631, 637 (D.C. Cir. 2021)). Courts “normally seek[] to afford the

law’s terms their ordinary meaning at the time Congress adopted them.” Niz-Chavez v. Garland,

141 S. Ct. 1474, 1480 (2021). Courts must also “‘give effect, if possible, to every clause and

word of [the] statute.’” Biden v. Texas, 142 S. Ct. 2528, 2539 (2022) (quoting Williams v.

Taylor, 529 U.S. 362, 404 (2000)).

   B. Non-Fatal EFP Attacks Constitute Attempted
      Extrajudicial Killings Actionable Under § 1605A

       In relevant part, § 1605A(a)(1) states:
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        A foreign state shall not be immune . . . in any case . . . in which money damages
        are sought against a foreign state for personal injury or death that was caused by
        an act of . . . extrajudicial killing . . . or the provision of material support or
        resources for such an act. . . .

18 U.S.C. § 1605A(a)(1) (emphasis added). Similarly, 18 U.S.C. § 1605A(c) provides a private

right of action against state sponsors of terrorism “for personal injury or death caused by acts

described in subsection (a)(1) of that foreign state, or of an official, employee, or agent of that

foreign state, for which the courts of the United States may maintain jurisdiction under this

section for money damages.” 18 U.S.C. § 1605A(c).

        As the August 9 Order notes, Force v. Islamic Republic of Iran, 2022 U.S. Dist. LEXIS

118083 (D.D.C. July 5, 2022) (“Force II”) held that only terrorist attacks involving a

consummated extrajudicial killing can support a claim under § 1605A. Among many other cases,

Judge Lamberth’s 2022 decision in Roberts v. Islamic Republic of Iran, 2022 U.S. Dist. LEXIS

12773, at *37-39 (D.D.C. Jan. 24, 2022), demonstrates that Force II erred by failing to give

effect to all of § 1605A’s terms and by disregarding the statute’s remedial purpose and

legislative history.

        As Roberts emphasized, § 1605A does not demand an “extrajudicial killing;” rather, the

statute requires proof that a terrorist state engaged in or provided material assistance for “‘act[s]

of … extrajudicial killing.’” See Roberts, 2022 U.S. Dist. LEXIS 12773, at *37 (quoting 18

U.S.C. § 1605A(a)(1) (alteration in original, emphasis added)). Investing each word of the

statute with significance, Judge Lamberth found that the words “act of” created an ambiguity that

required the court to resort to other tools of statutory interpretation. The court explained:

        And it is a “cardinal principle” of statutory interpretation that “courts ‘must give
        effect, if possible, to every clause and word of a statute,’ Loughrin v. United
        States, 573 U.S. 351, 358, 134 S. Ct. 2384, 189 L. Ed. 2d 411 (2014) (quoting
        Williams v. Taylor, 529 U.S. 362, 404, 120 S. Ct. 1495, 146 L. Ed. 2d 389
        (2000)), suggesting that the “act of” language inserted in § 1605A(a)(1) is

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       significant. The term “act of” could be read multiple ways. An “act” could refer
       to “a thing done” or a specific “deed.” Act, New Oxford English Dictionary (2d
       ed. 2005). But an “act” might also refer to “[t]he process of doing” something.
       Act, Oxford English Dictionary (2d ed. 1989); accord Act, Merriam-Webster’s
       Collegiate Dictionary (10th ed. 2005) (defining “act” as both “the doing of a
       thing” and “the process of doing”). Plausibly read, § 1605A(a)(1) could
       encompass (1) the specific deed of an extrajudicial killing or (2) the process of
       committing an extrajudicial killing. But the process of committing an
       extrajudicial killing does not imply that death results—meaning that an attempted
       extrajudicial killing could constitute an “act of extrajudicial killing.”

Id. at *38 (emphasis in original).

       To resolve the identified ambiguity, Roberts examined § 1605A’s “‘structure, purpose,

and legislative history.’” Donnelly, 34 F.4th at 9 (quoting Genus Med., 994 F.3d at 637); see

Roberts, 2022 U.S. Dist. LEXIS 12773, at *38-39. That analysis led the court to conclude that

§ 1605A’s remedial purpose, Congress’s intent in enacting the statute, and the D.C. Circuit’s

mandate to interpret the statute broadly in favor of terrorism victims all supported construing the

phrase “an act of … extrajudicial killing” in favor of imposing liability for attempted killings.

Roberts, 2022 U.S. Dist. Lexis 12773, at *38 (“[i]n light of this ambiguity, the Court will

interpret § 1605A(a)(1) broadly” to include attempts).

       As Roberts emphasized, that conclusion harmonizes with the D.C. Circuit’s analysis of a

different provision of § 1605A in Van Beneden v. Al-Sanusi, 709 F.3d 1165, 1167 (D.C. Cir.

2013) (considering whether two attacks should be deemed part of the same “act or incident”

under § 1605A). See Roberts, 2022 U.S. Dist. LEXIS 12773, at *39. As Van Beneden held,

§ 1605A’s legislative history “reflect[s] Congress’s judgment that ‘American citizens who have

been aggrieved by any state sponsor of terrorism . . . deserve every possible means of redress

available to them.’” 709 F.3d at 1167 n.4 (quoting 154 Cong. Rec. H258 (daily ed. Jan. 16,

2008) (statement of Rep. McHugh)); see also, e.g., Roberts, 2022 U.S. Dist. LEXIS 12773, at

*39 (§ 1605A reflects Congress’s intent to “lighten the jurisdictional burdens borne by victims of

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terrorism seeking judicial redress”). Van Beneden therefore concluded that, given the FSIA’s

“text and purpose, we interpret its ambiguities flexibly and capaciously.” 709 F.3d at 1167;

accord, e.g., Doe v. Bin Laden, 663 F.3d 64, 70 (2d Cir. 2011) (“The text, history, and purpose

of [§ 1605A] make clear that the statute does not counsel a narrow reading.”); Force II, 2022

U.S. Dist. LEXIS 118083 at *19-20 (“As the D.C. Circuit has explained, ‘[c]oncerned with

victims’ inability to obtain redress in terrorism cases,’ Congress ‘enacted the terrorism exception

expressly to bring state sponsors of terrorism . . . to account for their repressive practices’ and ‘to

prevent [them] from escaping liability for their sins.’”) (quoting Han Kim v. Democratic

People’s Republic of Korea, 774 F.3d 1044, 1048 (D.C. Cir. 2014)).

         Other elements of the legislative history of § 1605A and the FSIA section it replaced, 18

U.S.C. § 1605(a)(7), bolster the conclusion that Congress intended for courts to interpret

§ 1605A liberally to provide claims for attempted extrajudicial killings.1 Congress enacted the

terrorism exception to punish and deter all terrorism directed at Americans, not just attacks that

achieved their desired result. See, e.g., Leibovitch v. Islamic Republic of Iran, 697 F.3d 561, 563

(7th Cir. 2012) (Congress adopted § 1605(a)(7), “to ‘deter terrorism’ directed at United States

citizens and supported by foreign sovereigns as well as to ‘provide justice’ for victims of terrorist

acts”) (citing Pub. L. No. 104-132, § 221(a), 110 Stat. at 1214).2 Indeed, § 1605A’s sponsors




1
  Courts frequently look to the legislative history of the repealed § 1605(a)(7) to assist in interpreting its successor,
§ 1605A. See, e.g., Karcher v. Islamic Republic of Iran, 396 F. Supp. 3d 12, 57 (D.D.C. 2019) (“The relevant
language of this exception did not change materially when the exception was transferred from Section 1605(a)(7) to
the new Section 1605A(a)(1), so the original legislative history remains applicable.”).
2
 See also, e.g., Republic of Iraq v. Beaty, 556 U.S. 848, 859 (2009) (§ 1605(a)(7) “was intended as a sanction, to
punish and deter undesirable conduct”); H.R. Rep. No. 104-383, at 62 (1995) (“the Committee has determined that
allowing suits in the federal courts against countries responsible for terrorist acts … is warranted” because Iran and
other terrorist states “consider terrorism a legitimate instrument of achieving their foreign policy goals” and “have
become better at hiding their material support for their surrogates”); id. (emphasizing the need to “give American
citizens an important economic and financial weapon against these outlaw states”); id. at 37 (Congress enacted
§ 1605(a)(7) “to deter terrorist acts and to punish those who engage in terrorism”).

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highlighted the statute’s broad deterrence and retribution objectives. E.g., National Defense

Authorization Act For Fiscal Year 2008 (“2008 NDAA”), 154 Cong. Rec. S54 (daily ed. Jan. 22,

2008) (“I believe this legislation is essential to providing justice to those who have suffered at

the hands of terrorists and is an important tool designed to deter future state-sponsored

terrorism.”) (statement of legislation sponsor, Sen. Lautenberg); 2008 NDAA, 154 Cong. Rec.

H257 (daily ed. Jan. 16, 2008) (statement of Rep. Saxton noting that § 1605A “ensure[s]

terrorism victims have the legal redress against state sponsors of terrorism” and emphasizing that

“it’s something that is near and dear to many of our hearts, and some of us worked very closely

with Members of the other body, in particular Senator Lautenberg, over several years to bring the

language that we had in the original bill to the attention of the House and inclusion in the NDAA

bill”). Force II’s restrictive interpretation of § 1605A would undermine those fundamental

statutory objectives.

       Moreover, Roberts is by no means alone in concluding that attempted extrajudicial

killings suffice to support liability under § 1605A. In fact, virtually every court that has

considered the issue has concluded that § 1605A’s text, context, and history support that

statutory construction. See, e.g., Cabrera v. Republic, 2022 U.S. Dist. LEXIS 127290, at *134

(D.D.C. July 19, 2022) (Bates, J.) (“[E]ven where an attack killed no one—i.e., where it caused

only physical injuries—the terrorism exception continues to apply. Although ‘[t]he text of

§ 1605A(a)(1) does not expressly address attempts to commit acts’ such as extrajudicial killing,

courts in this District have concluded that injuries ‘resulting from “deliberated” attempts to kill

fall within the scope’ of the terrorism exception.”) (citation omitted); Lee v. Islamic Republic of

Iran, 518 F. Supp. 3d 475, 491 (D.D.C. 2021) (Mehta, J.) (“Section 1605A(a)(1) and the court’s

mandate to construe ambiguities in the FSIA broadly permits the court to exercise jurisdiction



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where a designated state supplies material resources in an attempt to commit an extrajudicial

killing.”); Karcher v. Islamic Republic of Iran, 396 F. Supp. 3d 12, 58 (D.D.C. 2019) (Kollar-

Kotelly, J.) (given § 1605A’s legislative history and the D.C. Circuit’s instruction to interpret the

statute broadly, “injuries resulting from ‘deliberated’ attempts to kill fall within the scope of

Section 1605A(a)(1)” and “[d]eploying an EFP represents a ‘deliberated’ attempt to kill

someone”); Gill v. Islamic Republic of Iran, 249 F. Supp. 3d 88, 98 (D.D.C. 2017) (Walton, J.).3

         In rejecting that precedent, Force II failed to appreciate the significance of Congress’s

use of the phrase “act of … extrajudicial killing.” Unlike Roberts, Force II perceived no

ambiguity arising from that language. See Force II, 2022 U.S. Dist. LEXIS 118083, at *20.

That conclusion conflicts not only with the weight of authority, but also an earlier opinion in the

Force case where Judge Moss found § 1605A ambiguous and held that the statute permits

recovery for attempted extrajudicial killings. See Force v. Islamic Republic of Iran, 464 F. Supp.

3d 323, 360 (D.D.C. 2020) (“Force I”) (“[T]he Court is also persuaded that the waiver of

sovereign immunity includes attempted extrajudicial killings that result in serious physical

injuries, even if no one is killed in the attack.”). At a minimum, the inconsistent Force rulings

add weight to the Roberts court’s conclusion that the “act of … extrajudicial killing” requirement

is ambiguous.

         Force II’s reasoning also conflicts with controlling D.C. Circuit authority. As Force II

correctly notes, § 1605A adopts the definition of “extrajudicial killing” set forth in Section 3(a)

of the Torture Victim Protection Act (“TVPA”). Force II, 2022 U.S. Dist. LEXIS 118083, at


3
  Courts have also repeatedly held that plaintiffs who suffered non-fatal injuries may assert § 1605A claims related
to attacks that killed other individuals. See, e.g., Pennington v. Islamic Republic of Iran, 2021 U.S. Dist. LEXIS
117666, at *9 (D.D.C. June 24, 2021) (Boasburg, J.); Cohen v. Islamic Republic of Iran, 238 F. Supp. 3d 71, 81
(D.D.C. 2017) (Cooper, J.) (“It is not necessary, however, for one of the plaintiffs to have died in the attack in order
for the state-sponsor-of-terrorism exception to apply. . .. Because Hamas’s decision to bomb a busload of civilians
was deliberate, unauthorized, and resulted in the death of 23 people, it qualifies as an ‘extrajudicial killing.’”).

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*15. But Force II based its holding that attempted extrajudicial killings cannot support § 1605A

claims on other TVPA provisions not incorporated in § 1605A. Id. at *16-17.

         As an initial matter, Force II’s conclusion that the TVPA bars claims based upon

attempted extrajudicial killings reflects a minority view.4 More importantly, as the D.C. Circuit

held in Owens v. Republic of Sudan, “When one statute, such as the FSIA, incorporates a

definition from another statute, here the TVPA, it imports only the specified definition and not

the broader purpose of the statute from which it comes.” 864 F.3d 751, 776 (2017), vacated on

other grounds, Opati v. Republic of Sudan, 140 S. Ct. 1601 (May 18, 2020). As a result, the

D.C. Circuit rejected Sudan’s argument that the FSIA incorporated the TVPA’s requirement that

a “state actor” must commit the extrajudicial killing. Id. at 775.

         In contrast to § 1605A, the TVPA imposes liability only where a defendant “subjects an

individual to extrajudicial killing,” i.e., it lacks the critical “act of” language upon which Roberts

turned. 28 U.S.C. § 1350 (note). Owens therefore dictates that Force II erred by superimposing

TVPA requirements other than the definition of “extrajudicial killing” upon § 1605A, which

contains very different liability requirements. See also, e.g., Flanagan v. Islamic Republic of

Iran, 190 F. Supp. 3d 138, 164 (D.D.C. 2016) (“And there is no indication that when Congress

imported the definition of ‘extrajudicial killing’ from section 3 of the TVPA into the FSIA, it

similarly meant to carry over the state-actor limitation from section 2.”).




4
  See, e.g., Jane W. v. Thomas, 560 F. Supp. 3d 855, 881 (E.D. Pa. 2021) (“Courts have interpreted the TVPA to
allow liability for attempted extrajudicial killings, ‘even if no one died as a result of [the] attempt.’”) (quoting Gill v.
Islamic Republic of Iran, 249 F. Supp. 3d 88, 99 (D.D.C. 2017)); Boniface v. Viliena, 338 F. Supp. 3d 50, 67-68 (D.
Mass. 2018) (“Defendant has not demonstrated that Plaintiffs’ TVPA claim for attempted extrajudicial killing
should be dismissed.”); Warfaa v. Ali, 33 F. Supp. 3d 653, 665-66 (E.D. Va. 2014) (denying defendant’s motion to
dismiss TVPA claim arising from an attempted extrajudicial killing), aff’d, 811 F.3d 653 (4th Cir. 2016); Doe v.
Constant, 2006 U.S. Dist. LEXIS 101961, at *18 (S.D.N.Y. Oct. 24, 2006) (finding defendant liable for torture and
attempted extrajudicial killing under the TVPA), aff’d, Doe v. Constant, 354 F. App’x 543, 544 (2d Cir. 2009).

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       In relying upon extraneous TVPA text to determine whether attempted extrajudicial

killings satisfy § 1605A, Force II also disregarded the two statutes’ contrasting scopes and

purposes. Unlike the TVPA, which applies to all state actors, § 1605A narrowly seeks to deter

and punish the misconduct of a handful of designated state sponsors of terrorism. Given that

narrow focus, courts recognize that § 1605A addresses a broader scope of improper conduct than

the TVPA. Owens, 864 F.3d at 776 (“[T]he different purposes of the TVPA and the FSIA are

plain on the face of those statutes. The TVPA targets individual state officials for their personal

misconduct in office, while the terrorism exception to the FSIA targets sovereign nations in an

effort to deter them from engaging, either directly or indirectly, in terrorist acts.”); Flanagan,

190 F. Supp. 3d at 165 (restrictions upon the TVPA’s scope do not apply to § 1605A, which “is

limited solely to those foreign states that are ‘designated as a state sponsor of terrorism’”)

(emphasis in original).

       The unique qualities of this case and the EFP attacks it addresses underscore the

difference between an “extrajudicial killing” and the broader “act of extrajudicial killing.” This

case narrowly focuses upon a single weapons system that Iran introduced into Iraq by means of

an elaborate plot to produce maximum carnage among American and allied military members.

Over multiple years, Iran fashioned EFPs, distributed them and their components to Shi’a

militias in Iraq, and educated those terrorists in assembling and using EFPs, all to serve the

specific purpose of killing American and allied soldiers. See Motion for Entry of Default

Judgment, ECF No. 58 at pp. 2-4, 8-9, 12-21. Iran undertook those long-term, concerted efforts

because killing military personnel in a gruesome fashion with EFPs was essential to Iran’s plot to

cause the U.S. and its allies to abandon efforts to promote a peaceful, democratic Iraq. See id. at

9-13. Interpreting the phrase “act of” as “‘[t]he process of doing’” something, as Roberts did,



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Class members’ injuries therefore arose from “acts of … extrajudicial killing,” i.e., the process

by which Iran implemented its scheme to kill American soldiers with EFPs. See Roberts, 2022

U.S. Dist. LEXIS 12773, at *38 (quoting Act, Oxford English Dictionary (2d ed. 1989)).

        It is also significant that Judge Moss’s departure from his Force I opinion was motivated

by a concern for imposing liability without meaningful limits that this case does not implicate.

Force II arose from a renewed motion for a default judgment filed by a plaintiff whose home

was struck by a rocket that Hamas fired into Israel. Force II, 2022 U.S. Dist. LEXIS 118083, at

*3-7. The plaintiff, who was away from home at the time and knew that none of her family

members were present, claimed only psychological injuries. Id. at *5-6. Even counsel for that

plaintiff described her cause of action as a “stretching-it claim.” See Perles Decl., Ex. A at 9.

        Despite that concern, in a recent status conference, Judge Moss expressed willingness to

re-examine his analysis with respect to plaintiffs who suffered severe injuries in non-fatal missile

attacks. See id. at 8. At the same time, Judge Moss observed that “there would have to be some

boundaries to this . . . It can’t be that Congress had in mind that every . . . person in Israel is

entitled to recover damages, because everyone in their right mind suffers psychiatric or

psychological injury when missiles are raining down on your small country.” Id. Judge Moss

has ordered additional briefing by September 21. Id. at 11.

        In sharp contrast to Force II, here Iran targeted soldiers with a uniquely deadly weapons

system, and all primary victims of the EFP attacks (i.e., the soldiers and other Class members

targeted by the attacks) suffered physical injuries because they were present when EFPs

detonated. See ECF No. 58 at pp. 21-25. Those factors address Judge Moss’s concerns

regarding boundless liability. Courts can better serve the policy objective that motivated Force

II by limiting or eliminating damages awards to plaintiffs allegedly injured by attacks that



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produced no physical injury, rather than by rejecting the claims of victims who suffered severe

injuries in attacks designed to kill them.

    C. Section 1605A’s Material Support Prong Provides
       an Alternative Basis for Class Members’ Claims

         Congress’s decision to withdraw sovereign immunity where terrorist states provide

“material support or resources for” an “act of … extrajudicial killing” supplies an alternative

basis for concluding that § 1605A supports a claim for personal injuries arising from non-lethal

EFP attacks. 18 U.S.C. § 1605A(a)(1) (emphasis added); see also 18 U.S.C. § 1605A(c)

(providing a claim “for personal injury or death caused by acts described in subsection (a)(1)”).

         The word “for” is the key determinant of the scope of § 1605A “material support”

liability. As in Roberts, courts required to determine the meaning of common words frequently

consult dictionary definitions. See, e.g., Guedes v. BATFE, 2022 U.S. App. LEXIS 21998, at

*13 (D.C. Cir. Aug. 9, 2022); Roberts, 2022 U.S. Dist. LEXIS 12773, at *38. Indeed, courts

have looked to dictionary definitions where the Constitution, statutes, or agreements use the

word “for” in defining legal requirements. See, e.g., Sissel v. United States HHS, 799 F.3d 1035,

1043 (D.C. Cir. 2015) (“The Clause’s critical word for this analysis is ‘for.’ The word ‘for’ in

this context means ‘with the purpose or object of.’ See Webster’s Third New International

Dictionary of the English Language 886 (1981); see also Samuel Johnson, A Dictionary of the

English Language 353 (10th ed. 1792) (defining the word ‘for’ as meaning, among other things,

‘with intention of’).”); Applera Corp. v. MJ Research Inc., 292 F. Supp. 2d 348, 363 (D. Conn.

2003) (“The word ‘for’ is defined as ‘with the aim or purpose of; suitable to; appropriate for.’”)

(quoting Webster’s New World Dictionary of the American Language 544 (2d ed. 1984)).5


5
  Accord, e.g., AFSCME Iowa Council 61 v. Iowa Pub. Emp’t Relations Bd., 846 N.W.2d 873, 877 (Iowa 2014) (“In
the court’s mind, this hinges upon the word ‘for,’ which is defined in this context as a function word used to indicate
purpose or an intended goal.”) (citing Merriam-Webster’s Collegiate Dictionary 454 (10th ed. 2001)); State v.

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         As those cases suggest, dictionary definitions provide that “for” is “used as a function

word to indicate purpose” or “used as a function word to indicate an intended goal.” Merriam-

Webster Online Dictionary, https://www.merriam-webster.com/dictionary/for; accord, e.g.,

Macmillan Dictionary, https://www.macmillandictionary.com/us/dictionary/american/for

(“intended to help or benefit someone/something”). Legal dictionaries’ definitions of “for” also

emphasize the purpose or intent of the party undertaking the relevant action. See, e.g., Skinner-

Smith v. Sec’y of HHS, 141 Fed. Cl. 348, 370 (2018) (“The plain meaning of the word ‘for,’ as

defined by dictionaries contemporaneous to the passage of the Vaccine Act is to indicate

‘purpose.’”) (citing, inter alia, A Dictionary of Modern Legal Use 78 (defining “for” as a

“general-purpose causal” conjunction)).

         With that definition in mind, § 1605A’s “material support” prong hinges upon the

purpose or intention of the terrorist state that provided the actionable assistance, not whether the

defendant succeeded in producing the desired extrajudicial killing. Thus, a terrorist state

provides “material support or resources for” an extrajudicial killing whenever that nation intends

for its assistance to further the objective of killing.

         That reading logically attributes to Congress a desire to punish material support that

caused personal injury irrespective of when the terrorist state provided that assistance or whether

it achieved the desired deadly effect.6 In contrast, Force II’s interpretation imposes an additional



Stewart, 386 P.3d 688, 693 (Or. App. 2016) (“The word ‘for,’ as relevant here, is defined as ‘in order to bring about
or further’; ‘with the purpose or object of’; ‘in order to obtain . . . or gain’; or ‘so as to secure as a result.’”) (quoting
Webster’s Dictionary at 886).
6
  See, e.g., Aiding Terrorists: An Examination of the Material Support Statute: Hearing Before the S. Comm. on the
Judiciary, 108th Cong. 6 (2004) (“The chronology of a terrorist plot, I think, is best understood as a continuum from
idea to planning to preparation to execution and attack, and the material support statutes enable us to strike earlier
and earlier on that continuum. We would much rather catch a terrorist with his hands on a check than on a bomb.”)
(testimony of then-Assistant Attorney General Christopher A. Wray concerning proposed amendments to 18 U.S.C.
§§ 2339A and 2339B); id. at 11 (material support statutes are a “vital component” of law enforcement’s efforts “to
neutralize persons who occupy positions within the terrorist organizational structure but are also at a distance from

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requirement that Congress did not adopt (i.e., a consummated killing) and shifts the statute’s

focus from the defendant’s intent when it provided the material support to the fortuity of whether

that conduct ultimately produced the desired result.

         Under Force II, plaintiffs who suffer relatively minor injuries as a byproduct of a fatal

attack successfully targeting others—for example, an individual who suffers a flesh wound

arising from a ricocheting bullet directed at a victim hundreds of feet away—would possess a

viable claim. But soldiers paralyzed and disfigured by a sophisticated weapon designed and

deployed for the specific purpose of killing them would have no claim if, through the wonders of

modern battlefield medicine, none of them died when an EFP detonated below their vehicle.

That illogical, inequitable result neither accords with the statute’s plain words nor promotes the

deterrence and retribution objectives Congress sought to advance.

         Thus, the same interpretive guideposts that Plaintiffs cite above favor rejecting Force II’s

more restrictive interpretation of § 1605A’s material support prong. Plaintiffs’ reading comports

with § 1605A’s plain meaning by giving effect to Congress’s choice of the word “for,” as

opposed to alternative formulations that would have made clear that only a consummated killing

can support liability. See, e.g., Biden v. Texas, 142 S. Ct. at 2539; Roberts, 2022 U.S. Dist.

LEXIS 12773, at *38. Moreover, § 1605A’s context and statutory history again favor adopting

Plaintiffs’ more permissive interpretation of the statute. See Gundy v. United States, 139 S. Ct.

2116, 2126 (2019) (“And beyond context and structure, the Court often looks to ‘history [and]

purpose’ to divine the meaning of language.”) (citation omitted).




the actual terrorist attacks themselves”) (testimony of Gary M. Bald, Assistant Director, Counterterrorism Division,
FBI).

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       The interpretive principle that 1 U.S.C. § 1 outlines buttresses that conclusion. Under

§ 1, “In determining the meaning of any Act of Congress, unless the context indicates

otherwise—words importing the singular include and apply to several persons, parties, or

things.” Applying that principle, § 1605A eliminates sovereign immunity when a terrorist state

engages in “act[s] of torture, extrajudicial killing, aircraft sabotage, hostage taking, or the

provision of material support or resources for such … act[s].” 18 U.S.C. § 1605A(a)(1). That

formulation clarifies that the material support § 1605A addresses can include long-term activity

intended to cause multiple extrajudicial killings—like the deaths Iran sought to produce by

designing and implementing its complex EFP campaign. Employing 1 U.S.C. § 1 to read

§ 1605A’s references to “act[s]” in the plural thus advances Congress’s intention of deterring and

punishing terrorism by avoiding a statutory construction improperly focused on the vagaries of

single attacks. See, e.g., Donnelly, 34 F.4th at 10 (relying upon § 1 in concluding that “the

statute’s use of the singular phrase ‘an interline movement’ should be interpreted to include

multiple movements.”).

       The overall statutory context of Congress’s use of material support statutes to punish and

deter terrorism also supports Plaintiffs’ interpretation of § 1605A. See, e.g., Torres v. Lynch, 578

U.S. 452, 459 (2016) (“[W]e must, as usual, ‘interpret the relevant words not in a vacuum, but

with reference to the statutory context.’”) (quoting Abramski v. United States, 573 U.S. 169, 179

(2014)). Section 1605A(h)(3) incorporates by reference the definition of “material support or

resources” set forth in 18 U.S.C. § 2339A. The latter statute criminalizes material support for

terrorism, irrespective of whether that conduct produces the desired result. See, e.g., United

States v. Stewart, 590 F.3d 93, 119 (2d Cir. 2009) (knowingly providing aid to terrorists suffices

to support a criminal conviction under § 2339A); United States v. Mohammad, 2017 U.S. Dist.



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LEXIS 83432, at *1 (N.D. Ohio May 31, 2017) (“By its elements, § 2339A criminalizes material

support given ‘in preparation for’ the object offense—clearly, the object offense need not even

have been completed yet, let alone proven as an element of the material support offense.”).

       Of course, §§ 1605A and 2339A are separate statutes and employ different wording.

Nonetheless, Congress presumptively recognized when it adopted § 1605A in 2008 that § 2339A

made providing material support to terrorists a criminal offense subject to up to 15 years in

prison without regard for whether that conduct caused any injury. Particularly given § 1605A’s

specific incorporation of § 2339A’s definition of material support, the courts’ pre-existing

interpretation of the criminal offense supports the conclusion that Congress did not intend

§ 1605A to require a successful extrajudicial killing. Morissette v. United States, 342 U.S. 246,

263 (1952) (“And where Congress borrows terms of art in which are accumulated the legal

tradition and meaning of centuries of practice, it presumably knows and adopts the cluster of

ideas that were attached to each borrowed word in the body of learning from which it was taken

and the meaning its use will convey to the judicial mind unless otherwise instructed.”); Guedes,

2022 U.S. App. LEXIS 21998, at *13 (pre-existing case law provided guidance regarding

whether regulation reasonably interpreted statute).

       Finally, Plaintiffs’ interpretation of § 1605A addresses the policy concerns that Force II

expressed by meaningfully limiting victims’ ability to establish claims against terrorist states.

Plaintiffs must prove “personal injury or death” “caused by” conduct intended to result in

“torture, extrajudicial killing, aircraft sabotage, [or] hostage taking.” The statute thus requires

conduct designed to achieve particularly egregious results (extrajudicial killings), a high level of

scienter (intent), and proximate causation. Force I also emphasized that traditional tort

principles appropriately limit plaintiffs’ ability to assert “stretching-it claims” like those both



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Force opinions rejected. See Force I, 464 F. Supp. 3d at 363 (emphasizing that the Restatement

(Second) of Torts does not permit recovery where “no one suffered physical injuries and no one

was even placed in imminent apprehension of physical harm”).

                                                II.

                   FORCE II HAS NO IMPACT UPON THE CLAIMS OF CLASS
                  MEMBERS OR THE CERTIFICATION OF THE PROPOSED CLASS

       Because Force II was wrongly decided, the opinion does not impact Class members’

claims or the certification of the proposed Class. This question of law simply provides an

additional legal issue shared by many Class members. See Fed. R. Civ. P. 23(a)(2)

(commonality requirement); Fed. R. Civ. P. 23(b)(3) (predominance requirement).

       If the Court were to follow Force II and bar recovery for non-fatal EFP attacks, that

ruling would preclude all claims by Sergeant Nantz and other Class members who suffered often

catastrophic injuries in EFP attacks that, fortuitously, did not produce fatalities. The EFP data

available from the government allows Plaintiffs and the Court to determine which proposed

Class members fall into that category. See Motion for Class Certification, ECF No. 60 at 20-21.

Thus, even an adverse ruling would not impact the certification of a class of victims injured in

attacks that produced fatalities.

Dated: August 24, 2022                        Respectfully submitted,

                                              PERLES LAW FIRM, PC
                                              Steven R. Perles (D.C. Bar No. 326975)
                                              Edward B. MacAllister (D.C. Bar No. 494558)
                                              Joshua K. Perles (D.C. Bar No. 1031069)
                                              816 Connecticut Ave., NW, 12th Floor
                                              Washington, DC 20006
                                              Tel: (202) 955-9055




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                               /s/ James P. Bonner
                            James P. Bonner (admitted pro hac vice)
                            Patrick L. Rocco (admitted pro hac vice)
                            FLEISCHMAN BONNER & ROCCO LLP
                            317 George Street, Suite 320
                            New Brunswick, NJ 08901
                            Tel: (908) 516-2045

                            Attorneys for Plaintiffs




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